889 F.2d 1084Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lloyd Nathaniel LASSITER, Plaintiff-Appellant,andStephen CHEEKS, Randy Wiggins, George Leroy Archer, NorrisSamuel Harris, Heath Eugene Boone, Joshua Mizell,III, Rodell Dickens, Carl W. Fortner,Alfred Deloatch, Plaintiffs,v.J. Irving BAINES, Sheriff, C.R. Messenger, Food ServiceDepartment, Defendants-Appellees.
    No. 89-7608.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 19, 1989.Decided Nov. 1, 1989.
    
      Lloyd Nathaniel Lassiter, appellant pro se.
      Annemarie Dinardo, Willcox &amp; Savage, PC, for appellees.
      Before HARRISON L. WINTER, CHAPMAN, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Lloyd Nathaniel Lassiter appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lassiter v. Baines, C/A No. 88-449-N (E.D.Va. Apr. 20, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    